 Case 2:16-cv-00443-JRG Document 10 Filed 11/02/16 Page 1 of 1 PageID #: 86



                       IN THE UNITED STATED DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §              Case No: 2:16-cv-0450
                                    §
vs.                                 §              LEAD CASE
                                    §
CITIBANK, N.A.                      §
                                    §
Defendant.                          §
____________________________________§
SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §              Case No: 2:16-cv-0443
                                    §
vs.                                 §              CONSOLIDATED CASE
                                    §
BANK OF AMERICA, N.A                §
                                    §
Defendant.                          §
____________________________________§

     .
                        ORDER OF DISMISSAL WITH PREJUDICE

         On this date, the Court considered Plaintiff Symbology Innovations, LLC’s motion

to dismiss with prejudice Defendant Bank of America, N.A. (Dkt. No. 127) pursuant to Fed. R.

Civ. P. 41(a).

         Therefore, IT IS ORDERED that Plaintiff’s claims against Defendant are dismissed with

prejudice.

          SIGNED this 19th day of December, 2011.
         So ORDERED and SIGNED this 1st day of November, 2016.




                                                         ____________________________________
                                                         RODNEY GILSTRAP
                                                         UNITED STATES DISTRICT JUDGE
